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 7
     Attorneys for Plaintiff
 8   APPLE INC.
 9
10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                          SAN FRANCISCO DIVISION

13
14   APPLE INC., a California corporation,                Case No. 3:21-cv-01707-EMC

15                             Plaintiff,                 JOINT STATUS REPORT

16          v.                                            DATE:     July 26, 2022
                                                          TIME:     2:30 p.m.
17   SIMON LANCASTER, an individual,                      JUDGE:    Hon. Edward M. Chen

18                             Defendant.

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                                                                                JOINT STATUS REPORT
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 1          Pursuant to the Court’s Order (Dkt. 55), Plaintiff Apple Inc. and Defendant Simon
 2   Lancaster respectfully submit this Joint Status Report.
 3          The parties are engaged in discovery. Defendant produced documents responsive to
 4   Apple’s first set of requests for production on May 6, 2022, May 13, 2022, and June 1, 2022.
 5   Defendant supplemented these productions on June 30, 2022 and July 1, 2022. The parties are
 6   meeting and conferring regarding the adequacy of the metadata provided with Defendant’s
 7   supplemental productions from June 30, 2022 and July 1, 2022. Apple produced a second set of
 8   documents responsive to Defendant’s first set of requests for production on May 16, 2022. This
 9   supplemented Apple’s production on November 18, 2021. The parties have agreed that Defendant
10   will appear for his deposition on August 11, 2022. Defendant anticipates taking one or more
11   depositions of Apple representatives.
12          The parties anticipate at this time that they will be able to complete fact and expert
13   discovery on the schedule currently set by the Court.
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                                                                            CASE NO. 3:21-CV-01707-EMC
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 1   Dated:   July 19, 2022                  O’MELVENY & MYERS LLP
 2                                           /s/ David R. Eberhart
                                             David R. Eberhart
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 6                                           Attorneys for Plaintiff Apple Inc.
 7
 8   Dated:   July 19, 2022                  RIMON, P.C.
 9                                           /s/ Scott R. Raber
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12
                                             Attorneys for Defendant Simon Lancaster
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 1                                          ATTESTATION
 2          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in
 3   the filing of this document has been obtained from the other party signatories.
 4          Dated: July 19, 2022                                /s/ David R. Eberhart
                                                                David R. Eberhart
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